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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CASE NO. 15-CV-07433-RWS

en x
VIRGINIA L. GIUFFRE,
Plaintiff,
Vv.
GHISLAINE MAXWELL,
Defendant.
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June 21, 2016
9:17 a.m.

CONFIDENTIAL
Deposition of JOSEPH RECAREY, pursuant
to notice, taken by Plaintiff, at the

offices of Boies Schiller & Flexner, 401

Page 1

Las Olas Boulevard, Fort Lauderdale, Florida,

before Kelli Ann Willis, a Registered
Professional Reporter, Certified Realtime
Reporter and Notary Public within and

for the State of Florida.

 

 

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JOSEPH RECAREY - CONFIDENTIAL
Ghislane Maxwell?
A. I wanted to speak with everyone related to

this home, including Ms. Maxwell. My contact was
through Gus, Attorney Gus Fronstin, at the time, who
initially had told me that he would make everyone
available for an interview. And subsequent
conversations later, no one was available for
interview and everybody had an attorney, and I was
not going to be able to speak with them.

Q. Okay. During your investigation, what did
you learn in terms of Ghislane Maxwell's
involvement, if any?

MR. PAGLIUCA: Object to form and
foundation.

THE WITNESS: Ms. Maxwell, during her
research, was found to be Epstein's long-time
friend. During the interviews, Ms. Maxwell was
involved in seeking girls to perform massages
and work at Epstein's home.

MR. PAGLIUCA: Object to form and
foundation.

BY MR. EDWARDS:
Q. Did you interview -- how many girls did

you interview that were sought to give or that

 

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1 JOSEPH RECAREY - CONFIDENTIAL

2 I guess I'll start with where it says on 4/4/2005, I

3 just want to ask you, was a voice mail message taken
4 into evidence from HR to SG?

5 A. Yes.

6 Q. Okay. And the purpose of that evidence is
Yi, to corroborate what?

8 MR. PAGLIUCA: Object to form and

9 foundation.
10 THE WITNESS: It was actually a phone call
11 from HR to SG confirming an appointment to go
12 work at Epstein's residence,

13 BY MR. EDWARDS:

14 QO. The next line down is what I wanted to

15 focus on, April 5th, 2005.

16 This trash pull, what evidence is yielded

17 from this particular trash pull?

18 MR. PAGLIUCA: Object to form and

19 foundation.

20 THE WITNESS: The trash pull indicated

21 that there were several messages with written
22 items on it. There was a message from HR

23 indicating that there would be an 11:00

24 appointment. There were other individuals that
25 had called during that day.

 

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1 JOSEPH RECAREY - CONFIDENTIAL
2 BY MR. EDWARDS:
3 QO. And when you would -- when you would see
4 females' names and telephone numbers, would you take
5 those telephone numbers and match it to -- toa
6 person?
7 MR. PAGLIUCA: Object to form and
8 foundation.
9 THE WITNESS: We would do our best to
10 identify who that person was.

11 BY MR. EDWARDS:
12 Q. And is that one way in which you

13 discovered the identities of some of the other what

14 soon came to be known as victims?

15 MR. PAGLIUCA: Object to form and
16 foundation.

17 THE WITNESS: Correct.

18 BY MR. EDWARDS:
19 Q. Okay. There's the second paragraph from

20 the bottom, it starts, "Detective Leigh provided

21 trash from 4/06, 4/07/2005."

22 Do you see that?
23 A. Yes.
24 Q. And what is the purpose of the indication

25 that "the following information was retrieved: Jet

 

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1 JOSEPH RECAREY - CONFIDENTIAL

2 BY MR, EDWARDS:

3 Q. Okay. Also reflected are the property

4 receipts?

5 MR. PAGLIUCA: Object to form and

6 foundation.

7 THE WITNESS: Correct.

8 BY MR. EDWARDS:

9 Q. All right.
10 And where were those taken from, in terms
11 of whose property is that?

12 MR. PAGLIUCA: Object to form and

13 foundation.
14 THE WITNESS: This would have been taken
15 from the home of Jeffrey Epstein,
16 BY MR. EDWARDS:
17 QO. And in reviewing that evidence, were you
18 able to substantiate or corroborate certain victims’

19 accounts of their allegations of having been at the

20 house?

21 MR. PAGLIUCA: Object to form and
22 foundation.
23 THE WITNESS: Correct.

24 BY MR. EDWARDS:

25 Q. Did you find names of other witnesses and

 

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1 JOSEPH RECAREY - CONFIDENTIAL

2 people that you knew to have been associated with
3 the house in those message pads?

4 MR, PAGLIUCA: Object to form and

foundation.
THE WITNESS: Yes.

BY MR. EDWARDS:

ao J OHO

Q. And so what was the evidentiary value to
9 you of the message pads collected from Jeffrey

10 Epstein's home in the search warrant?

11 MR, PAGLIUCA: Object to form and

12 foundation.

13 THE WITNESS: It was very important to
14 corroborate what the victims had already told
15 me as to calling in and for work.

16 BY MR. EDWARDS:

17 Q. Okay. And did you learn the identities of

18 some of the other individuals associated with
19 Jeffrey Epstein through the review of that

20 particular evidence?

21 MR. PAGLIUCA: Object to form and
22 foundation,
23 THE WITNESS: Correct.

24 BY MR. EDWARDS:

25 Q. Okay. And what did you do with that

 

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2 AFFIDAVIT
3 STATE OF FLORIDA )
COUNTY OF }
4
5
Ty , being first
6 duly sworn, do hereby acknowledge that I did
read a true and certified copy of my deposition
7 which was taken in the case of GIUFFRE V.
MAXWELL, taken on the 24th day of September,
8 2016, and the corrections I desire to make are
as indicated on the attached Errata Sheet.
9
10 CERTIFICATE
11
12 STATE OF FLORIDA )
COUNTY OF )
13
14
Before me personally appeared
15 ’
to me well known / known to me to be the
16 person described in and who executed the
foregoing instrument and acknowledged to and
17 before me that he executed the said instrument
in the capacity and for the purpose therein
18 expressed.
19
20 Witness my hand and official seal, this
day of '
21
2a
23
(Notary Public)
24

25 My Commission Expires:

 

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